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 1                                     UNITED STATE DISTRICT COURT
                                     WESTERN DISTRICT OF WASHINGTON
 2                                              AT SEATTLE
 3
         SHILO HAMACHER,
 4
                                         Plaintiff,       NO. 2:12-cv-2025
 5       v.
                                                          PLAINTIFF’S COMPLAINT
 6       GC SERVICES, LP.,                                (Unlawful Debt Collection Practices)

 7                                       Defendant.

 8

 9            SHILO HAMACHER (Plaintiff), through his attorneys, alleges the following against GC
10   SERVICES, LP., (Defendant):
11                                              INTRODUCTION
12       1. Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act (FDCPA), 15
13            U.S.C. 1692, et seq.
14                                       JURISDICTION AND VENUE
15       2. Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), which states that such
16            actions may be brought and heard before “any appropriate United States district court
17            without regard to the amount in controversy.”
18       3. Defendant conducts business in the State of Washington and, therefore, personal
19            jurisdiction is established.
20       4. Venue is proper pursuant to 28 U.S.C. 1391(b)(2).
21                                                    PARTIES
22       5. Plaintiff is a natural person residing in Marysville, Snohomish County, Washington.
23       6. Plaintiff is a consumer as that term is defined by 15 U.S.C. 1692a(3).
24       7. According to Defendant, Plaintiff allegedly owes a debt as that term is defined by 15
25            U.S.C. 1692a(5).



     Plaintiff’s Complaint - - 1 -                                                     Sharon D. Cousineau
                                                                              Samwel, Cousineau & Shea, PC
                                                                               700 West Evergreen Boulevard
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 1       8. Defendant is a business entity located at 6330 Gulfton, Houston Texas.
 2       9. Defendant is a debt collector as that term is defined by 15 U.S.C. 1692a(6) and sought to
 3            collect a consumer debt from Plaintiff.
 4       10. Defendant acted through its agents, employees, officers, members, directors, heirs,
 5            successors, assigns, principals, trustees, sureties, subrogees, representatives, and
 6            insurers.
 7                                     FACTUAL ALLEGATIONS
 8      11. In September and October of 2012, Defendant placed collection calls to Plaintiff seeking
 9           and demanding payment for an alleged consumer debt.
10      12. Plaintiff’s alleged debt owed arises from transactions used for personal, family, and
11           household purposes.
12      13. Defendant called Plaintiff’s telephone number at 425-244-79XX.
13      14. On September 25, 2012, Defendant called Plaintiff and left a voicemail message on
14           Plaintiff’s answering machine. See transcribed voicemail message attached hereto as
15           Exhibit A.
16      15. In the voicemail message, Defendant’s representative, “John Frick” failed to
17           meaningfully disclose the company’s name or the nature of the call or state that the call
18           was from a debt collector. See Exhibit A.
19      16. In the voicemail message, Defendant’s representative, “John Frick”, directed Plaintiff to
20           call him back at 1-314-851-4383, which is a number that belongs to Defendant. See
21           Exhibit A.
22      17. On October 3, 2012, Defendant called Plaintiff and left a second voicemail message on
23           Plaintiff’s answering machine. See transcribed voicemail message attached hereto as
24           Exhibit B.
25      18. In the voicemail message, Defendant’s representative, “Ms. Williamson” failed to



     Plaintiff’s Complaint - - 2 -                                                    Sharon D. Cousineau
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 1           meaningfully disclose the company’s name or the nature of the call or state that the call
 2           was from a debt collector. See Exhibit B.
 3      19. In the voicemail message, Defendant’s representative, “Ms. Williamson”, directed
 4           Plaintiff to call her back at 1-314-851-4383, which is a number that belongs to
 5           Defendant. See Exhibit B.
 6      20. Defendant is using false, deceptive and misleading means in connection with attempting
 7           to collect a debt by not identifying the purpose of its phone calls or that they are an
 8           attempt to collect a debt.
 9                                 COUNT I
          DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT
10

11       1. Defendant violated the FDCPA based on the following:
12                 a. Defendant violated § 1692d of the FDCPA by engaging in conduct the natural
13
                        consequence of which is to harass, oppress, or abuse the Plaintiff in connection
14
                        with the collection of a debt.
15
                   b. Defendant violated § 1692d(6) of the FDCPA by placing telephone calls without
16
                        meaningful disclosure of the caller’s identity because Defendant did not provide
17
                        the identity of the caller or the nature of the debt.
18
                   c. Defendant violated § 1692e of the FDCPA by using false, deceptive or
19
                        misleading representation with the collection of the debt.
20

21                 d. Defendant violated § 1692e(10) of the FDCPA by using deceptive means in an

22                      attempt to collect a debt.

23                 e. Defendant violated § 1692e(11) of the FDCPA by failing to disclose that the call

24                      was from a debt collector.
25




     Plaintiff’s Complaint - - 3 -                                                              Sharon D. Cousineau
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 1            WHEREFORE, Plaintiff, SHILO HAMACHER, respectfully requests judgment be
 2   entered against Defendant, GC SERVICES, LP., for the following:
 3       2. Statutory damages of $1,000.00 pursuant to the Fair Debt Collection Practices Act, 15
 4            U.S.C. 1692k;
 5       3. Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection Practices Act,
 6            15 U.S.C. 1692k; and
 7       4. Any other relief that this Honorable Court deems appropriate.
 8

 9                                               RESPECTFULLY SUBMITTED,
10
                                                 By: /s/ Sharon Cousineau
11
                                                 Sharon Cousineau
                                                 700 W. Evergreen Blvd.
12                                               Vancouver, WA 98660
                                                 360-750-3789
13                                               sdcousineau@gmail.com
                                                 Attorney for Plaintiff
14

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     Plaintiff’s Complaint - - 4 -                                                  Sharon D. Cousineau
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